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MEMO ENDORSED                                                    July 24, 2024

           Via ECF
           United States District Court for the
           Southern District of New York                                            USDC SDNY
           40 Foley Square,                                                         DOCUMENT
           New York, New York 10007                                                 ELECTRONICALLY FILED
           Attn: Hon. Valerie E. Caproni                                            DOC #:
                                                                                    DATE FILED: 7/24/24
           Re:        Henri v. Thelus et al
                      Case No. 1:24-cv-00329-VEC

           Dear Judge Caproni,

                  Our firm represents the defendants, Theriel Thelus and Senet D. Achill (“Defendants”). On
           July 12, 2024, plaintiff filed opposition papers to our second motion to dismiss. We are currently
           waiting for certified documents from Haiti and request an additional 14 days to file our reply
           papers. The current deadline is July 26, 2024.

                      We have contacted Mr. Altman’s office for his consent but have not heard back.



                                                                 Respectfully submitted,

                                                                 /s/ Daniel S. Szalkiewicz
                                                                 By: Daniel S. Szalkiewicz, Esq.
Application GRANTED. Defendants' reply must be filed by no later than August 7, 2024.


SO ORDERED.                                7/24/24




HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE




 Daniel Szalkiewicz & Associates, P.C.
